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                                                                                                                                    CLOSED

                                                       U.S. District Court
                                             Middle District of Florida (Jacksonville)
                                       CRIMINAL DOCKET FOR CASE #: 3:24-mj-01467-LLL-1


         Case title: USA v. Pesteleu                                                  Date Filed: 10/21/2024

         Other court case number: 24-mj-1443 District of New Mexico                   Date Terminated: 10/22/2024


         Assigned to: Magistrate Judge Laura Lothman
         Lambert


         Defendant (1)
         Claudiu Pesteleu                                             represented by Sabra Barnett
         TERMINATED: 10/22/2024                                                      Office of Federal Defender, Middle District of Florida
                                                                                     200 West Forsyth Street
                                                                                     Suite 1240
                                                                                     Jacksonville, FL 32202
                                                                                     904-232-3039
                                                                                     Email: sabra_barnett@fd.org
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Designation: Public Defender or Community
                                                                                     Defender Appointment

         Pending Counts                                                               Disposition
         None


         Highest Offense Level (Opening)
         None


         Terminated Counts                                                            Disposition
         None


         Highest Offense Level (Terminated)
         None


         Complaints                                                                   Disposition
         1: 18:1349; CONSPIRACY TO COMMIT WIRE
         FRAUD. 2: 18:1956(h); CONSPIRACY TO LAUNDER
         MONETARY INSTRUMENTS.

         Plaintiff
         USA                                                          represented by Andrew Tysen Duva
                                                                                     US Attorney's Office - FLM
                                                                                     Suite 700
                                                                                     300 N Hogan St
                                                                                     Jacksonville, FL 32202
                                                                                     904/301-6348
                                                                                     Fax: 904/301-6310
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Designation: Retained


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         Date Filed    # Docket Text

         10/21/2024    1   Arrest pursuant to Rule 5(c)(3) of Claudiu Pesteleu from the District of New Mexico. (NK) (Entered:
                           10/22/2024)

         10/21/2024    2   MINUTE Entry for In Person proceedings held before Magistrate Judge Laura Lothman Lambert: INITIAL
                           APPEARANCE in Rule 5(c)(3) proceedings held on 10/21/2024 as to Claudiu Pesteleu from the District of
                           New Mexico. (DIGITAL) (NK) (Entered: 10/22/2024)

         10/21/2024    3   ORAL MOTION to Appoint Counsel by Claudiu Pesteleu. (NK) (Entered: 10/22/2024)

         10/21/2024    4   ORAL MOTION for Detention by USA as to Claudiu Pesteleu. (NK) (Entered: 10/22/2024)

         10/21/2024    5   ***CJA 23 Financial Affidavit by Claudiu Pesteleu (filed in open court). (NK) (Entered: 10/22/2024)

         10/21/2024    6   WAIVER of Rule 5 & 5.1 Hearings hearing by Claudiu Pesteleu (filed in open court). (NK) (Entered:
                           10/22/2024)

         10/22/2024    7   ORDER APPOINTING FEDERAL PUBLIC DEFENDER (granting 3 ORAL Motion to Appoint
                           Counsel) as to Claudiu Pesteleu(1). Signed by Magistrate Judge Laura Lothman Lambert on
                           10/22/2024. (NK) (Entered: 10/22/2024)

         10/22/2024    8   COMMITMENT TO ANOTHER DISTRICT as to Claudiu Pesteleu. Defendant committed to the
                           District of New Mexico. Signed by Magistrate Judge Laura Lothman Lambert on 10/21/2024.
                           (NK) (Entered: 10/22/2024)

         10/22/2024    9   ORDER OF REMOVAL pursuant to Rule 5(c)(3) to the District of New Mexico as to Claudiu
                           Pesteleu. Signed by Magistrate Judge Laura Lothman Lambert on 10/22/2024. (NK) (Entered:
                           10/22/2024)

         10/22/2024        NOTICE to District of New Mexico of a Rule 5 Initial Appearance as to Claudiu Pesteleu regarding your case
                           number: 24-mj-1443. Using your PACER account, you may retrieve the docket sheet and any documents via
                           the case number link. No documents/record will be sent. If you require certified copies of any documents
                           please send a request to InterdistrictTransfer_FLMD@flmd.uscourts.gov. If you wish the court to use a
                           different email address in the future, please send a request to update your address to
                           InterdistrictTransfer_TXND@txnd.uscourts.gov. (NK) (Entered: 10/22/2024)




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                                  United States District Court
                                   Middle District of Florida
                                    Jacksonville Division
UNITED STATES OF AMERICA

v.                                                               NO. 3:24-MJ-1467-LLL

CLAUDIU PESTELEU


                                       Clerk’s Minutes

Proceeding:                       Initial Appearance- Rule 5(c)(3)

 Judge             Laura Lothman Lambert          Date and Time 10/21/2024
                   United States Magistrate Judge               3:08 p.m. – 3:29 p.m.
 Deputy Clerk      Natasa Kojic                       Tape/Reporter Digital
 Counsel for       Tysen Duva, Assistant United       Counsel for        Sabra Barnett, Esquire
 United States     States Attorney                    Defendant
 Interpreter       None Present                       Pretrial           Daniel Dumpit



Court requested presence of counsel for possible appointment. Sabra Barnett is present.

Defendant arrested on a warrant issued out of the District of New Mexico.

Defendant advised of rights, charge, and penalties.

Defendant requested court appointed counsel. The defendant placed under oath and
questioned regarding financial condition. Court will appoint the Office of the Federal
Defender.

Order to enter.

Counsel for the defendant advised the Court that the defendant desires to waive his identity,
detention, and preliminary hearings, reserving his right to have his detention and preliminary
hearings in the charging district.

Defendant questioned regarding waiving such rights. Waiver of Rule 5(c)(3) Hearings
executed in open court.


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______________________________________________________________________________

The Court finds that the defendant knowingly, intentionally, voluntarily, and freely waived
his right to identity, detention, and preliminary hearings, reserving the right to have his
detention and preliminary hearings in the charging district.

The defendant is detained and shall be transported to the District of New Mexico.

Order of Commitment to enter.

Future hearings to be set by Magistrate Judge and/or District Judge in the charging district.

Filed in Open Court:
       Waiver of Rule 5(c)(3) Hearings
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                             United States District Court
                              Middle District of Florida
                               Jacksonville Division

UNITED STATES OF AMERICA

v.                                                              NO. 3:24-MJ-1467-LLL

CLAUDIU PESTELEU
_______________________________________________________________________

                             Order Appointing Counsel

      The Court has examined the defendant, Claudiu Pesteleu, under oath and

found him without sufficient resources within the meaning of Title 18, United States

Code, Section 3006A to employ counsel. The Office of the Federal Defender is

appointed to represent the defendant in this case.

      Ordered in Jacksonville, Florida on October 22, 2024.




c:
A. Tysen Duva, Assistant United States Attorney
Office of the Federal Defender
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                             United States District Court
                              Middle District of Florida
                               Jacksonville Division


UNITED STATES OF AMERICA

v.                                                              NO. 3:24-MJ-1467-LLL

CLAUDIU PESTELEU
________________________________________________________________________

                                        Order

      The defendant appeared before this Court under Rule 5(c)(3), Fed.R.Crim.P.,

having been arrested on an arrest warrant, based on a Complaint filed in the District

of New Mexico. The defendant was advised of the charges, the potential

consequences, and his rights, including his right to counsel.

      The defendant was appointed counsel and freely, voluntarily, knowingly, and

intentionally waived rights to identity, detention, and preliminary hearings in this

district while reserving the right to have the detention and preliminary hearings held

in the District of New Mexico. Accordingly, the Clerk of the Court shall transmit any

appropriate documentation to the District of New Mexico and close this file.

      Ordered in Jacksonville, Florida on October 22, 2024.
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c:
A. Tysen Duva, Assistant United States Attorney
Office of the Federal Defender
United States Marshals Service
United States Pretrial Services
Defendant
